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EXH|B|T 'l

SETTLEMENT AGREEMENT AND RELEASE

Marius Haynes and his heirs, executors, administrators, successors, and
assigns (collectively referred to throughout this Agreernent as “Haynes”), and Youth
Villages, Inc. (“Youth Villages”), agree that:

WI-IEREAS, Haynes claims that he is owed unpaid regular wage and/or
overtime compensation by Youth Villages under the Fair Labor Standards Act
(“FLSA”) as well as common law contract theories under the laws of the State of
Georgia;

WHEREAS, he has filed an action in the United States District Court
for the Northem District of Georgia, styled Marius Haynes v. Youth Villages, Case
No. gl:l§-cv- 03%9 -SCJ to recover the alleged unpaid regular time or overtime
wages (“the Action”) as well as any alleged liquidated damages and attorneys’ fees
that might accrue from a successful prosecution of such action; and

WHEREAS, Youth Villages denies that Haynes is entitled to any
recovery under the FLSA, or any other wage and hour statute or common law but
has agreed to settle Haynes’s claims to resolve the controversy between them
amicably and expeditiously so as to avoid the costs and other expenditures of time
and effort relating to litigation of the Action. `

NOW, TI~IEREFORE, intending to be legally bound and in
consideration of the mutual covenants and agreements contained herein, and for
other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged by entering into this Settlement Agreement and Release (the
“Agreement”), it is hereby

STIPULATED AND AGREED by and between the Parties that
Haynes’s claims are resolved as follows:

1. Consideration. In consideration for signing this Agreernent,
and complying with its terms, Youth Villages LLC agrees to pay to Haynes One
Thousand Four Hundred Eighty Dollars and 23/ 100 ($1,480.23), as follows:

a. a check payable to the order of Marius Haynes in the
amount of Seven Hundred Forty Dollars and 11/100

 

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($740.11), less lawful deductions, representing back
wages, for which a W-Z will be issued;

b. a check payable to the order of Haynes in the amount of
Seven Hundred Forty Dollars and 12/100 ($740.12),
representing liquidated damages, for which a Form 1099
will be provided; and `

The checks described above shall be delivered to I-Iill, Kertscher &
Wharton LLP within ten (lO) calendar days after the satisfaction of each of the
following: (i) Youth Villages’ receipt of this Agreement with Marius Haynes’s
original signature; (ii) Youth Villages’ receipt of executed Forms W-4, W-9 from
Marius Haynes and his counsel, as applicable; and (iii) the Court’s entry of an order
approving the settlement and dismissing the Lawsuit with prejudice as to all
plaintiffs in the action.

The sums detailed above are in full and final settlement and resolution
of any and all wage and employment contract claims including expenses, attorneys’
fees, liquidated damages and consequential damages which Haynes had, has, or may
have against Youth Villages arising out of or in any way connected With his
employment with Youth Villages as of the date of the execution of this Agreement.

2. Tax Responsibilig. Youth Villages makes no representation as
to the taxability of the amounts paid to Haynes or his counsel. Haynes hereby agrees,
represents and warrants that he shall have sole responsibility for the satisfaction of
any and all taxes, liens or assignments in law or equity, or otherwise, that may exist
with respect to any recovery by him under this Agreement, except for the tax
contributions federally mandated of Youth Villages, and that he will fully satisfy all
taxes, liens, and assignments which may arise as a result of his receipt of the
settlement payments Haynes represents that he is not subject to any garnishment or
wage deduction order, including but not limited to, any order for the payment of
child support

3. Bankruptcy. Haynes represents that he is not currently involved
in any bankruptcy action and that there are no bankruptcy actions to which any
trustee in bankruptcy or any other party has claims.

 

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4. No Consideration Absent Execution of this Agreement.
Haynes understands and agrees that he would not receive the monies and/or benefits

specified in paragraph “1” above, except for his execution of this Agreement and the
fulfillment of the promises contained herein. -

5. Release of All Compensatng-Relgted Claims. Haynes
knowingly and voluntarily releases and forever discharges Youth Villages and its
executors, administrators, successors, assigns, parent corporations, affiliates,
subsidiaries, divisions, predecessors, insurers, co-employers, and its current and
former employees, attorneys, ofticers, directors, board members, shareholders,
owners and agents, both individually and in their business capacities, and its
employee benefit plans and programs and its administrators and fiduciaries
(collectively referred to throughout the remainder of this Agreement as
“Releasees”), of and from any and all claims, known and unknown, asserted or
unasserted, which Haynes had, has, or may have against Releasees as of the date of
execution of this Agreement related to her compensation in connection with his
employment with Youth Villages including, but not limited to, any alleged violation
of:

" The Fair Labor Standards Act (“FLSA”);
' Breach of Contract;
' The Equal Pay Act;

' Any and all wage then or wage payment laws as they exist in the
states and municipalities of the United States;

" Any other federal, state or local law, rule, regulation, or
ordinance regarding employment compensation; and

' Any basis for recovering costs, fees, or other expenses including
attorneys’ fees incurred in these matters

If any claim is not subject to release, to the extent permitted by law,
Haynes waives any right or ability to be a class or collective action representative or
to otherwise participate in any putative or certified class, collective or multi-party

 

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action or proceeding based on such a claim in which Youth Villages or any other
Releasee identified in this Agreement is a party.

6. Acknowledgments and Affirmations. Haynes affirms that he
has not filed, caused to be tiled, and presently is not a party to any claim, complaint,
or action against Releasees in any forum or form, other than this Action.

Haynes further affirms he is aware of his obligations to make any tax
payments and forward payment to the lntemal Revenue Service.

Haynes affirms that all of Releasees’ decisions regarding his pay and
benefits through the date of execution of this Agreement were not discriminatory
based on disability, race, color, sex, religion, national origin or any other
classification protected by law.

Releasees and Haynes affirm that there was no undue influence,
overreaching, collusion or intimidation in reaching this Agreement.

7. Limited Disclosure and Retnrn of Property. Provided the

Court in this case approves Defendant’s motion for confidentiality, Haynes
agrees not to publish, communicate or otherwise disclose any information regarding
the underlying facts leading up to or the existence or substance of this Agreement,
except to Haynes’s spouse, tax advisor, an attorney with whom Haynes chooses to
consult regarding Haynes’s consideration of this Agreement and/or to any federal,
state or local govemment agency.

Haynes affirms that he has returned all of Youth Villages' property,
documents, and/or any confidential information in his possession or control. Haynes
also affirms that Youth Villages is in possession of all of it’s property that he had at
Youth Villages’ premises and that Youth Villages is not in possession of any of
Haynes’s property.

8. Governing Law and Intergretation. This Agreement shall be
governed and conformed in accordance with the laws of Georgia without regard to
its conflict of laws provision In the event of a breach of any provision of this
Agreement, either party may institute an action specifically to enforce any term or
terms of this Agreement and/or to seek any damages for breach. Should any
provision of this Agreement be declared illegal or unenforceable by any court of

 

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competent jurisdiction and cannot be modified to be enforceable, excluding the
general release language, such provision shall immediately become null and void,
leaving the remainder of this Agreement in full force and effect

9. Amendment. This Agreement may not be modified, altered or
changed except in writing and signed by both Parties wherein specific reference is
made to this Agreement

10, Entire Agreement. This Agreement sets forth the entire
agreement between the Parties hereto, with regard to Haynes’s compensation~related
claims against Youth Villages, and fully supersedes any prior agreements or
understandings between the Parties with regard to Haynes’s employment, except the
Agreement and General Release which is incorporated herein by reference Haynes
acknowledges that he has not relied on any representations, promises, or agreements
of any kind made to him in connection with his decision to accept this Agreement,
except for those set forth in this Agreement

11. Fees and Costs. The payment of Plaintiff’s attorneys’ fees and
costs will be determined by the Court and paid by Youth Villages after Court
determination as memorialized in the Mediation Agreement between the parties
which is hereby incorporated by reference

HAYNES FREELY AND KNOWINGLY, AND AFTER DUE
CONSIDERATION, ENTERS INTO THIS AGREEMENT INTENDING TO
WAIVE, SE'I`TLE AND RELEASE ALL CLAIMS HE HAS OR MIGHT
HAVE AGAINST RELEASEES WITH REGARD TO HAYNES’S
COMPENSATION AND WAGES.

The Parties knowingly and voluntarily sign this Agreement as of the
date(s) set forth below:

 

 

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YOUTH VILLAGES, INC.

By:(¥\hw<}~ ‘)M£L' By:

Marius Haynes

 

 

Its:

 

Date:

 

 

 

 

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